                          IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF IOWA CEDAR
                                     RAPIDS DIVISION


TRACEY K. KUEHL, et al.,                               )
                                                       )
                         Plaintiffs,                   ) Case No. C14-02034-JSS
       v.                                              )
                                                       )
                                                         Certificate of Service
PAMELA SELLNER, et al.,                                )
                                                       )
                         Defendants.                   )
                                                       )
                                                       )

                                       CERTIFICATE OF SERVICE

       I, Jessica L. Blome, hereby certify that I filed the following documents in the Court’s

Electronic Case Filing System (ECF) this 29th day of June, 2015, which were then served upon

all counsel of record:

   •   Plaintiffs’ Reply to Defendants’ Statement of Material Facts
   •   Plaintiffs’ Reply to Defendants’ Memorandum of Law in Resistance to Plaintiffs’ Motion
       for Summary Judgment
   •   Plaintiffs’ Supplemental Appendix
   •   Plaintiffs’ Motion to Exclude Paragraph 45 of the Affidavit of Pamela Sellner and
       Defendants’ Exhibits X and AA
   •   Plaintiff’s Proposed Order

   Date: June 29, 2015                         /s Jessica L. Blome
                                                       Jessica L. Blome




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